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                    IN THE UNITED STATES BANKRUPTCY COURT FOR
                             THE DISTRICT OF MARYLAND
                                    Baltimore Division


 PARVIS NAFFIS AND VICKY NAFFIS,
                                                           Chapter 7
        Debtors’,                                          Case No.: 14-28711



 PARVIS NAFFIS
                                                           Adversary Case No.: 15-00078
        Plaintiff
 vs.

 XEROX EDUCATION SERVICES, LLC,
 UNITED STATES DEPARTMENT OF
 EDUCATION and NELNET,

        Defendants,


                      PLAINTIFF’S RESPONSE AND OPPOSITION TO
                          MOTION FOR SUMMARY JUDGMENT

       NOW COMES, Parvis Naffis, (“Plaintiff”), by his attorneys Kim Parker and The Law

Offices of Kim Parker, P.A., and pursuant to Federal Rules of Civil Procedure 56(c) and Fed. R.

Bankr. P. 7056, responds to the Defendant’s Xerox Education Services LLC (the “Defendant” or

“Xerox”, collectively), Motion for Summary Judgment and opposes the Motion for reasons state:

       1. The Defendant Motion fails to raise valid defenses against Plaintiff’s claims asserted in

his Complaint.

       2. There are material facts in dispute whether the Defendant knew of Plaintiff’s

Bankruptcy.

       3. That the Defendants actions were unfair and deceptive.
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        4. Material issues of fact exist as to the circumstances of the occurrence underlying this

litigation, precluding summary judgment as a matter of law

        5. Plaintiff’s Rule 56.1 Statement of Material Facts and Facts in Dispute indisputably

demonstrates that there are, at a minimum, genuine issues of material fact concerning the

Defendant’s liability.

        6. The Defendant has not met their burden of proof on their motion for summary judgment

nor have they established their alleged lack of culpability.

        7. The vast majority of the Plaintiff’s claims are typically decided by juries, not judges,

and the Defendant has manifestly failed to identify any reason why this case should be an exception

to this rule.

        8. A motion for summary judgment must be evaluated with all inferences construed in

favor of the non-moving party; for reasons set forth fully in the accompanying Memorandum of

Law, such inferences, when properly drawn in light of the disputed and undisputed facts, preclude

summary judgment as a matter of law

        WHEREFORE, for the reasons set forth above, and the accompanying Memorandum,

Plaintiff respectfully request that this Court deny Defendant’s Motion, and for such other and

further relief as may be deemed just and proper.

                                                      Respectfully Submitted,

                                                      THE LAW OFFICES OF KIM PARKER,         PA


                                                      /s/ Kim Parker /s/
                                                      __________________________________
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                            CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on the 17th day of March 2019, an electronic copy of Plaintiff’s

Response and Opposition to Motion for Summary Judgment was served electronically by the

Court’s CM/ECF system on Anastasia L. McCusker, Richard M. Goldberg and Todd A.

Hoodenpyle, counsels for the Defendant.

                                                  /s/ Kim Parker
                                                  ____________________________
                                                  Kim Parker, Esquire
